         Case 3:22-cv-00222-SB            Document 16      Filed 01/30/23      Page 1 of 6




                                UNITED STATES DISTRICT COURT

                                      DISTRICT OF OREGON

                                   _P_o_rtl_an_d_ _ _ _ D !VISION




Ch\s-hca ])c~o, e\ UL -litrw:\/                     Civil Case No.  3~ 1,_1--c>J-  oou2-8L
(Enter full name ofplaintiff)           .]          (to be assigned by Clerk's Office)
                      Plaintiff,

                       V.                           COMPLAINT FOR VIOLATION OF CIVIL
                                                    RIGHTS (PRISONER COMPLAINT)



                                                     Jury Trial Demanded
                                                       ·Yes         □No



(Enter full name ofALL defendant(s))


                      Defendant(s).



                                             I. PARTIES

        List your name, address, and telephone number below, and the same information for
 each defendant. Make sure that the defendant(s) listed below are identical to those
 contained in the caption of the complaint. Attach additional sheets ofpaper if necessary.


 Plaintiff              Name:      Chrisfran D,fdz-Umnr -:l:\ ~n~s-s
                        Street Address:      ll~lfO Nf, \werniss D1<.-
                        City, State & Zip Code:   tQ()~±\cnd I OR I q-:f~~0'
                        Telephone No.:       ..i.,
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Complaint for Violation of Civil Rights (Prisoner Complaint)
[Rev. 01/2018]
          Case 3:22-cv-00222-SB            Document 16      Filed 01/30/23    Page 2 of 6



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                                            . "/*
                                     !om 601±1    YiO\Co
 Defendant No. 1           Name:
                                               (
                           Street Address: _ _ _ _ _ _ _ _ _ _ _ _ _ __

                           City, State & Zip Code: _ _ _ _ _ _ _ _ _ __

                           Telephone No.:


 Defendant No. 2           Name:    Sd:h w1of ek&J\c':i'o'l'{(j
                           Street Address : _ _ _ _ _ _ _ _ _ _ _ _ _ __

                           City, State & Zip Code: _ _ _ _ _ _ _ _ _ _ __

                           Telephone No. :


 Defendant No. 3           Name:    Jabn J) e
                           Street Address: _ _ _ _ _ _ _ _ _ _ _ _ _ __

                           City, State & Zip Code: _ _ _ _ _ _ _ _ _ _ __

                           Telephone No.:


 Defendant No. 4
                           Street Address: _ _ _ _ _ _ _ _ _ _ _ _ _ __

                           City, State & Zip Code: _ _ _ _ _ _ _ _ _ _ __

                           Telephone No.:


                                   II. BASIS FOR JURISDICTION

         Under 42 U .S.C. § 1983 , you may sue state or local officials for the "deprivation of any
 rights, privileges, or immunities secured by the Constitution and [federal laws]." Under Bivens
 v. Six Unknown Agents of Federal Bureau of Narcotics, 403 U.S. 388 (1971), you may sue
 federal officials for the violation of certain constitutional rights.

        A. You are bringing suit against (check all that apply) :

                  0 Federal officials (a Bivens claim)
                  ~ State or local officials (a § 1983 claim)



Complaint for Violation of Civil Rights (Prisoner Complaint)                                      2
[Rev. 01 /2018)
            Case 3:22-cv-00222-SB          Document 16         Filed 01/30/23      Page 3 of 6




           B. What federal constitutional, statutory, or treaty right(s) is/are at issue?

  (:,\id \\\o~\-.5~

                                   III. STATEMENT OF CLAIMS

                                                 Claim I

         State here as briefly as possible the facts of your case. Describe how each defendant
 was involved, when the conduct occurred, and any injuries you have suffered as a result.
 It is not necessary to give any legal arguments or cite any cases or statutes.

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                                                                     ~IA(\(.
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                     J                J          Claim II

         State here as briefly as possible the facts of your case. Describe how each defendant
 was involved, when the conduct occurred, and any injuries you have suffered as a result.
 It is not necessary to give any legal arguments or cite any cases or statutes.




Complaint fo r Violation of Civil Rights (Prisoner Complaint)                                         3
[Rev. 01/2018]
          Case 3:22-cv-00222-SB       Document 16       Filed 01/30/23     Page 4 of 6




                                           Claim III

       State here as briefly as possible the facts ofyour case. Describe how each defendant was
 involved, when the conduct occurred, and any injuries you have suffered as a result. It is not
 necessary to give any legal arguments or cite any cases or statutes.




 (Ifyou have additional claims, describe them on another piece ofpaper, using the same
 outline.)

Complaint for Violation of Civil Rights (Prisoner Complaint)                                  4
[Rev. 01 /2018]
                 Case 3:22-cv-00222-SB           Document 16        Filed 01/30/23      Page 5 of 6




                           IV. EXHAUSTION OF ADMINISTRATIVE REMEDIES

I have filed for administrative relief as to all claims in Section III and have concluded all
administrative appeals available to me.


                                        ~Yes                     □ No


                                                    V. RELIEF

      State briefly exactly what you want the court to do for you and the amount, ifany, of
 monetary compensation you are seeking. Make no legal arguments. Cite no cases or statutes .
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         ", See~ ':f\                                                                            I




                 I declare under penalty of perjury that the foregoing is true and correct.
                 Signed this ~~-t~ day of     ~cOllcf\J                  . , 201:i_.
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Complaint for Violation of Civil Rights (Prisoner Complaint)                                          5
[Rev. 01/2018]
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